Case 2:13-cv-06982-SDW-SCM Document 16-1 Filed 04/11/16 Page 1 of 1 PageID: 86



    LIEFF CABRASER HEIMANN &
    BERNSTEIN, LLP
    Adam Weintraub (NJ Bar No. 038342010)
    250 Hudson Street, 8th Floor
    New York, NY 10013-1413
    aweintraub@lchb.com

    Attorney for Plaintiff


    Sherilynn Thompson,                                    MDL 2:09-cv-04414-SDW-SCM

                      Plaintiff,
                                                           Civil Case No. 2:13-cv-06982-SDW-SCM
                v.

    ZIMMER HOLDINGS, INC. and ZIMMER,                      CERTIFICATE OF FILING AND
    INC.,                                                  SERVICE
                      Defendants



                I hereby certify that the annexed NOTICE OF SUBSTITUTION OF ATTORNEY

    PURSUANT TO L.CIV.R. 102.1 has been filed via the Court’s ECF System. Notice of

    this filing will be sent to all properly-registered parties by operation of the Court’s

    electronic filing system, including electronic service upon counsel for the defendants:

    J. Joseph Tanner
    Andrew Campbell
    FAEGRE BAKER DANIELS LLP
    110 W. Berry St. Suite 2400
    Fort Wayne, Indiana 46802


    Dated: April 11, 2016

                                                      Adam Weintraub (NJ Bar No. 038342010)
                                                      LIEFF CABRASER HEIMANN &
                                                      BERNSTEIN, LLP
                                                      250 Hudson Street, 8th Floor
                                                      New York, NY 10013-1413
                                                      aweintraub@lchb.com



    1300311.1
